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April 25, 2018

Honorable Valerie E. Caproni
United States District Judge
Southern District of New York
40 Foley Square
New York, New York 10007

Re:    Fortune v. Women.com, Inc. (1:17-cv-09043-VEC)

Dear Judge Caproni,

We represent Plaintiff, James Fortune, in the above in-captioned case. The parties have reached a
settlement in principle and respectfully request that this Court administratively dismiss the action
with leave to reopen the case by July 31, 2018, as Defendant will be paying the settlement
amount in installments.

The Court’s consideration is much appreciated.


                                                     Respectfully submitted,

                                                     /s/Richard Liebowitz
                                                     Richard P. Liebowitz

                                                    Counsel for Plaintiff James Fortune




                                                                     	
